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                              UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF TEXAS
                                  SAN ANTONIO DIVISION

 UNITED STATES OF AMERICA,                       §
                                                 §
           Plaintiff,                            §
                                                 §
 v.                                              §   CRIMINAL NO. SA-25-CR-00277-JKP
                                                 §
 (1) ALBERT JOSEPH DELGADO II,                   §
 (2) HECTOR FUENTEZ JR,                          §
                                                 §
           Defendants.

                          UNITED STATES OF AMERICA’S
               BILL OF PARTICULARS FOR FORFEITURE OF PROPERTIES

          Comes now the United States of America, by and through the United States Attorney for

the Western District of Texas and the undersigned Assistant United States Attorney, and files the

following Bill of Particulars for Forfeiture of Properties.

          The Indictment (Doc. 28) gave notice that the United States seeks the criminal forfeiture

of properties pursuant to Title 18 U.S.C. §§ 934(a)(1)(A)/(B) and pursuant to 924(d)(1), made

applicable to criminal forfeiture by Title 28 U.S.C. § 2461(c) from the Defendants. Specifically,

this Bill of Particulars seeks the criminal forfeiture of properties which are included herein.

          The United States hereby gives notice that it seeks the criminal forfeiture of certain

properties from the Defendants for the violations of Title 18 U.S.C. §§ 933(a)(2) & (3), and 922(o)

as follows:

                NOTICE OF GOVERNMENT’S DEMAND FOR FORFEITURE
                             [See Fed. R. Crim. P. 32.2]

                                                  I.
                            Firearm Violation and Forfeiture Statutes
      [Title 18 U.S.C. § 933(a)(2), and (3), subject to forfeiture pursuant to Title 18 U.S.C. §
                                        934(a)(1)(A) and (B)]

          As a result of the criminal violation set forth in Count One, the United States of America
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gives notice to the Defendants of its intent to seek the forfeiture of the certain property upon

conviction and pursuant to Fed. R. Crim. P. 32.2 and Title 18 U.S.C. § 934(a)(1)(A) and (B), which

state:

         Title 18 U.S.C. § 934. Forfeiture and Fines.
         (a) Forfeiture. --
            (1) In general. -- Any person convicted of a violation of section 932 or 933 shall forfeit
            to the United States, irrespective of any provision of State law--
                 (A) any property constituting, or derived from, any proceeds the person obtained,
                 directly or indirectly, as the result of such violation; and
                 (B) any of the person's property used, or intended to be used, in any manner or part,
                 to commit, or to facilitate the commission of, such violation . . .

                                               II.
                           Firearm Violations and Forfeiture Statutes
             [Title 18 U.S.C. §§ 922(o) and 933(a)(2), and (3) subject to forfeiture
         pursuant to Title 18 U.S.C. § 924(d)(1), made applicable to criminal forfeiture
                                  by Title 28 U.S.C. § 2461(c)]

         As a result of the criminal violations set forth in Counts One and Two, the United States

of America gives notice to the Defendants of its intent to seek the forfeiture of certain property

upon conviction and pursuant to Fed. R. Crim. P. 32.2 and Title 18 U.S.C. § 924(d)(1), made

applicable to criminal forfeiture by Title 28 U.S.C. § 2461(c), which states:

         Title 18 U.S.C. § 924. Penalties
             (d)(l) Any firearm or ammunition involved in or used in any knowing violation
             of subsection . . . (o)… of section 922 . . . or 933 . . . shall be subject to seizure
             and forfeiture . . . under the provisions of this chapter. . . .

This Notice of Demand for Forfeiture includes but is not limited to the following properties:

    1. Mossberg 500CT Shotgun CAL:20 SN:G765696;
    2. Mossberg 453T Rifle CAL:22 SN:1218285;
    3. Glock GMBH 22 Pistol CAL:40 SN:BYSH262;
    4. Glock Inc 17GEN5 Pistol CAL:9 SN:BSVY384;
    5. Thalson Starter Pistol Revolver CAL:22 SN:None;
    6. Glock GMBH 17 Pistol CAL:9 SN:YTZ432;
    7. Glock GMBH (Barrel Serial Number BXRF450) 19X Pistol CAL:9 SN:CCLC407;
    8. Smith & Wesson 19 Revolver CAL:357 SN:71k2651;
    9. FMK Firearms Inc AR 1 Extreme Pistol CAL:300 SN:FMK3372;
    10. Smith & Wesson 686 Revolver CAL:357 SN:AZA9455;
    11. Glock GMBH 22 Pistol CAL:40 SN:MHL829
                                                     2
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12. Aero Precision X15 Pistol CAL:Multi SN:X557488;
13. Glock GMBH 43X Pistol CAL:9 SN:BXKM969;
14. Glock GMBH 19 Pistol CAL:9 SN:BNYZ589;
15. Taurus G2C Pistol CAL:9 SN:ADD224393;
16. Glock Conversation Device Unknown Machine Gun (NFA) CAL:Unknown
    SN:None
17. Any and all firearms, ammunition, and/or accessories involved in or used in the
    commission of the criminal offenses.



                                               Respectfully submitted,

                                               JUSTIN R. SIMMONS
                                               United States Attorney

                                     By:               /s/
                                               RAY A. GATTINELLA
                                               Assistant United States Attorney
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                                               Attorneys for the United States of America




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                             CERTIFICATE OF SERVICE

   I hereby certify that on June 16, 2025, a true and correct copy of the foregoing instrument

was electronically filed with the Clerk of the Court using the CM/ECF System which will

transmit notification of such filing to counsel of record.



                                                         /s/
                                                  RAY A. GATTINELLA
                                                  Assistant United States Attorney




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